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                         UNITED STATES DISTRICT COURT
  9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
                                     WESTERN DIVISION
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 12
      DAVALAN SALES, INC., a corporation       Case No. 2:20-cv-11128-DSF-MAA
 13   d/b/a DAVALAN FRESH; J.
 14
      HELLMAN PRODUCE, INC., a                 ORDER APPROVING
      corporation; VIP MARKETING, INC., a      STIPULATION FOR ENTRY OF
 15   corporation; LOS ANGELES                 JUDGMENT
 16
      PRODUCE FRESH, LLC, a limited
      liability company; BEST BUY
 17   PRODUCE INT’L, INC., a corporation,
 18
                        Plaintiff,
 19         v.
 20
      SEASHORE WEST, INC., a corporation;
 21   JUAN C. MUNGUIA, an individual;
 22   SEAN C. PTASZENSKI, an individual,

 23                     Defendants.
 24

 25
           Having read and considered the Stipulation for Entry of Judgment submitted
 26
      by Plaintiffs DAVALAN SALES, INC., a corporation doing business as
 27
      DAVALAN FRESH (“Davalan”); J. HELLMAN PRODUCE, INC., a corporation
 28
      (“Hellman”); VIP MARKETING, INC., a corporation (“VIP”); LOS ANGELES

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  1   PRODUCE FRESH, LLC, a limited liability company (“LAPF”); and BEST BUY
  2   PRODUCE INTERNATIONAL, INC., a corporation (“Best”)(hereinafter referred
  3   to collectively as “Plaintiffs”), and Defendant SEASHORE WEST, INC.
  4   (“Seashore” or “Corporate Defendant”), JUAN C. MUNGUIA, an individual
  5   (“JM”), and Defendant, SEAN C. PTASZENSKI, an individual (“SP”)(JM and SP
  6   are sometimes referred to herein collectively as “Individual Defendants”)(Seashore
  7   and the Individual Defendants are sometimes referred to collectively as
  8   “Defendant”)(Plaintiffs and Defendants are sometimes referred to herein
  9   collectively as “the Parties”), and all other pleadings and papers on file herein, and
 10   good cause appearing therefor,
 11         IT IS HEREBY ORDERED that the Stipulation for Entry of Judgment is
 12   approved in its entirety.
 13         IT IS FURTHER ORDERED that the following facts are hereby adopted by
 14   this Court as Findings of Fact upon such terms and conditions as provided in the
 15   Stipulation.
 16         1.       Plaintiff Davalan is, and during all times mentioned herein has been, a
 17   corporation organized and operating under the laws of the State of California.
 18         2.       Plaintiff Davalan is, and during all times mentioned herein has been,
 19   duly licensed by the U.S. Department of Agriculture, operating under Perishable
 20   Agricultural Commodities Act (“PACA”) license number 19840351.
 21         3.       Plaintiff Hellman is, and during all times mentioned herein has been, a
 22   corporation organized and operating under the laws of the State of California.
 23         4.       Plaintiff Hellman is, and during all times mentioned herein has been,
 24   duly licensed by the U.S. Department of Agriculture, operating under PACA license
 25   number 19961244.
 26         5.       Plaintiff VIP is, and during all times mentioned herein has been, a
 27   corporation organized and operating under the laws of the State of California.
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  1         6.      Plaintiff VIP is, and during all times mentioned herein has been, duly
  2   licensed by the U.S. Department of Agriculture, operating under PACA license
  3   number 20060041.
  4         7.      Plaintiff LAPF is, and during all times mentioned herein has been, a
  5   limited liability company organized and operating under the laws of the State of
  6   California.
  7         8.      Plaintiff LAPF is, and during all times mentioned herein has been, duly
  8   licensed by the U.S. Department of Agriculture, operating under PACA license
  9   number 20180227.
 10         9.      Plaintiff Best is, and during all times mentioned herein has been, a
 11   corporation organized and operating under the laws of the State of California.
 12         10.     Plaintiff Best is, and during all times mentioned herein has been, duly
 13   licensed by the U.S. Department of Agriculture, operating under PACA license
 14   number 19962520.
 15         11.     Defendant Seashore, during all times mentioned herein, was doing
 16   business under the laws of the State of California as a corporation, having its
 17   principal place of business located in Los Angeles, California.
 18         12.     At all times alleged in the complaint on file in this case, the Individual
 19   Defendants were the controlling officers, directors, and managing members of
 20   Seashore, having actual and constructive knowledge of the PACA trust provisions.
 21         13.     At all times alleged in the complaint on file in this case, the Individual
 22   Defendants were responsible for the daily management and control of Seashore, and
 23   were in positions to control the PACA trust assets at all relevant times.
 24         14.     The total combined settlement amount due under this Agreement and
 25   Stipulation is $82,345.10, all of which is qualified for protection under the trust
 26   provisions of PACA [7 U.S.C. §499e et seq.].
 27         15.     All admissions and stipulated facts set forth above are made for the
 28   purpose of facilitating settlement of the dispute between The Parties. Said


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  1   admissions and stipulated facts are binding upon The Parties hereto for all purposes
  2   but shall not be relied upon by any person not a party to this agreement for any
  3   purpose whatsoever.
  4          16.    The Parties, for themselves and for no others, wish to avoid the further
  5   expense and uncertainty of litigation and therefore wish to fully resolve and
  6   compromise this dispute, and desire to enter into the following Stipulation for Entry
  7   of Judgment whereby said Defendants shall pay to Plaintiffs the amounts agreed to
  8   herein and shall allow judgment to be entered against them in the manner specified
  9   below.
 10          IT IS FURTHER ORDERED that so long as Defendants are not in default of the
 11   terms of the Stipulation for Entry of Judgment as contemplated therein, Plaintiffs shall take
 12   no steps to enforce said Judgment.
 13          IT IS FURTHER ORDERED that in the event of default as contemplated by the
 14   Stipulation, Plaintiffs may immediately take whatever steps are available to Plaintiffs to
 15   enforce the judgment subject only to Defendants’ right to object to enforcement of
 16   judgment based solely upon the following grounds, and no others: (a) whether a default

 17   has in fact occurred, as such default is contemplated herein; or, (b) whether any sums

 18   acknowledged by Plaintiff as having been received prior to default are accurate. If
      Defendants intend to object to enforcement of the judgment under this paragraph,
 19
      Defendants’ notice of objection and any related pleadings shall be filed and served on an
 20
      ex parte basis in compliance with applicable Local Rules of the United States District Court
 21
      for the Central District of California, if any. Failure to file and serve any such notice of
 22
      objection within such period will be deemed Defendants’ admission of default and consent
 23
      to Plaintiff’s right to immediately commence enforcement of judgment.
 24
             IT IS FURTHER ORDERED that the U.S. District Court for the Central District of
 25
      California, shall retain exclusive jurisdiction over the parties and subject matter herein in
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      order to enforce or interpret the provisions of this Stipulation and to enter and enforce
 27
      judgment hereon.
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  1         IT IS FURTHER ORDERED that this action shall be administratively closed
  2   without prejudice pending payment of the sums due hereunder and subject to immediate
  3   reopening upon Defendants’ ex parte application to challenge Plaintiffs’ right to enforce
  4   the judgment as set forth above.
  5         IT IS SO ORDERED.
  6   DATED: May 3, 2021
  7
                                               Honorable Dale S. Fischer
  8                                            UNITED STATES DISTRICT JUDGE
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